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                          IN THE STATE COURT OF COBB COUNTY
                                   STATE OF GEORGIA

MELISSA SNELGROVE,                             )
                                               )
       Plaintiff,                              )
                                               )       CIVIL ACTION FILE
vs.                                            )       NO. 23-A-2998
                                               )
WAL-MART STORES EAST, L.P. and                 )
RANDY VARNER,                                  )
                                               )
       Defendants.                             )

                          ANSWER AND JURY DEMAND OF
                      DEFENDANT WAL-MART STORES EAST, L.P.

       Defendant Wal-Mart Stores East, L.P., by and through counsel, answers plaintiff’s

Complaint as follows:

                                         FIRST DEFENSE

       The subject incident and Plaintiff’s injuries, if any, were directly and proximately caused

by plaintiff’s failure to exercise ordinary care for their own safety.

                                       SECOND DEFENSE

       Plaintiff’s knowledge of the hazard, if any, was equal to the knowledge, if any, that

Defendant possessed; therefore, Plaintiff is barred from any recovery against Defendant.

                                        THIRD DEFENSE

       Plaintiff voluntarily assumed the risk of the hazard, if any, that was present at the subject

store at the time of the subject incident; therefore, Plaintiff is barred from any recovery against

Defendant.

                                       FOURTH DEFENSE

       Plaintiff fails to state a claim upon which relief can be granted for attorney’s fees.
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                                         FIFTH DEFENSE

        The Plaintiff’s Complaint fails to state a claim against Defendant upon which relief can

be granted.

                                         SIXTH DEFENSE

        Defendant has breached no legal duty to Plaintiff and Plaintiff’s claims, therefore, should

be dismissed.

                                       SEVENTH DEFENSE

        No act or omission of Defendant caused or contributed to cause any injury or damage which

Plaintiff may have suffered and Plaintiff, therefore, may not recover against Defendant.

                                        EIGHTH DEFENSE

        If it is judicially determined that Defendant is liable for any injuries sustained by the

Plaintiff, which is denied, then Defendant states that any injuries so sustained were caused, in

whole or in part, by the Plaintiff’s own negligence and/or fault, and that Plaintiff’s damages

therefore should be either barred or reduced by the percentage commensurate with the degree of

negligence or fault attributable to the Plaintiff.

                                         NINTH DEFENSE

        Defendant will rely upon any and all defenses supported by facts developed during

discovery proceedings in this action and hereby specifically reserves the right to amend its Answer

for the purposes of asserting any such additional defenses.
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                                       TENTH DEFENSE

       Defendant reserves the right to seek application of the law of the appropriate venue on all

issues, including, but not limited to, statute of limitations, statue of repose, contributory and

comparative negligence, and damages.

                                    ELEVENTH DEFENSE

       Responding to the specific allegations of the numbered paragraphs of plaintiff's

Complaint, Defendant Wal-Mart Stores East, L.P., answers:

                                                1.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                2.

       Defendant admits the allegations contained within this paragraph of plaintiff’s

Complaint.

                                                3.

       Defendant admits the allegations contained within this paragraph of plaintiff’s

Complaint.

                                                4.

       Defendant admits the allegations contained within this paragraph of plaintiff’s

Complaint.

                                                5.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.
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                                                6.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                7.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                8.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                9.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                10.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                11.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                12.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                13.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.
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                                                14.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                15.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                16.

       Defendant incorporates and re-alleges its responses to paragraphs 1-15 inclusive.

                                                17.

       Defendant denies the allegations of this paragraph of plaintiff’s Complaint.

                                                18.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                19.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                20.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                21.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                22.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                23.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.
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                                                24.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                25.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                26.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                27.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                28.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                29.

       Defendant incorporates and re-alleges its responses to paragraphs 1-28 inclusive.

                                                30.

       Defendant is without knowledge or information sufficient to form a belief as to the truth

of the allegations of contained within this paragraph of plaintiff’s Complaint.

                                                31.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                32.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                33.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                34.

       Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.
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                                        35.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        36.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        37.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        38.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        39.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        40.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        41.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        42.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        43.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        44.

 Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                        45.

 Defendant incorporates and re-alleges its responses to paragraphs 1-44 inclusive.
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                                                  46.

        Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                  47.

        Defendant denies the allegations contained within this paragraph of plaintiff’s Complaint.

                                                  48.

        Any allegation, language or paragraph of plaintiff's Complaint not heretofore responded

to is specifically denied by Defendant.

        WHEREFORE having answered, defendant Wal-Mart Stores East, L.P. prays that it be

discharged, with its costs, that it receive a trial by a jury of twelve (12) persons, and that it

receive all further relief available under the law.

        This 10th day of August, 2023.

                                                WALDON ADELMAN CASTILLA
                                                HIESTAND & PROUT




                                                Steven R. Wilson
                                                Georgia Bar No. 614233
                                                Carolyn L. Lee
                                                Georgia Bar No. 772008
                                                Attorneys for Defendant Wal-Mart Stores East, L.P.


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                                   CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the ANSWER AND JURY DEMAND OF
DEFENDANT WAL-MART STORES EAST, L.P. with the Clerk of the Court using an
O.C.G.A. § 15-6-11 electronic filing service provider which will automatically send e-mail
notification of such filing to the following attorney(s) of record:


                                      James Seifter, Esq.
                                     Darren W. Penn, Esq.
                                      PENN LAW LLC
                                 4200 Northside Parkway, NW
                                    Building One, Suite 100
                                    Atlanta, Georgia 30327
                                   jim@pennlawgroup.com
                                  darren@pennlawgroup.com
                                     Attorney for Plaintiff

       This 10th day of August, 2023.

                                            WALDON ADELMAN CASTILLA
                                            HIESTAND & PROUT




                                            Steven R. Wilson
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                                            Carolyn L. Lee
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                        IN THE STATE COURT OF COBB COUNTY
                                 STATE OF GEORGIA

MELISSA SNELGROVE,                           )
                                             )
       Plaintiff,                            )
                                             )      CIVIL ACTION FILE
vs.                                          )      NO. 23-A-2998
                                             )
WAL-MART STORES EAST, L.P. and               )
RANDY VARNER,                                )
                                             )
       Defendants.                           )

                          RULE 5.2 CERTIFICATE OF SERVICE

       Pursuant to Uniform State Court Rule 5.2, the undersigned hereby certifies that a copy of
DEFENDANT WAL-MART STORES EAST, L.P.’S RESPONSE TO PLAINTIFF’S FIRST
REQUESTS FOR ADMISSION was served upon counsel of record in the foregoing matter
electronically and/or by depositing copies of same in the United States Mail in an envelope with
sufficient postage thereon addressed as follows:
                                      James Seifter, Esq.
                                     Darren W. Penn, Esq.
                                      PENN LAW LLC
                                 4200 Northside Parkway, NW
                                    Building One, Suite 100
                                    Atlanta, Georgia 30327
                                   jim@pennlawgroup.com
                                  darren@pennlawgroup.com
                                     Attorney for Plaintiff

       This 10th day of August, 2023.

                                             WALDON ADELMAN CASTILLA
                                             HIESTAND & PROUT



                                             Steven R. Wilson
                                             Georgia Bar No. 614233
                                             Carolyn L. Lee
                                             Georgia Bar No. 772008
                                             Attorneys for Defendant Wal-Mart Stores East, L.P.
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